704 F.2d 1141
    UNITED STATES of America, et al., Plaintiffs-Appellees,v.STATE OF WASHINGTON, et al., Defendants-Appellants.
    No. 81-3111.
    United States Court of Appeals,Ninth Circuit.
    April 27, 1983.
    
      Edward B. Mackie, Deputy Atty. Gen., Olympia, Wash., for defendants-appellants.
      William A. White, Washington, D.C., for plaintiffs-appellees.
      Alan C. Stay, Seattle, Wash., for amicus curiae Hoh/Quileute/Nugually Tribe.
      Before BROWNING, Chief Judge, WRIGHT, CHOY, GOODWIN, WALLACE, SNEED, KENNEDY, ANDERSON, HUG, TANG, SKOPIL, SCHROEDER, FLETCHER, FARRIS, PREGERSON, ALARCON, POOLE, FERGUSON, NELSON, CANBY, BOOCHEVER, NORRIS and REINHARDT, Circuit Judges.
    
    ORDER FOR PUBLICATION
    
      1
      Upon the vote of a majority of the regular active judges of this court, it is ordered that this case shall be reheard by an en banc panel of the court pursuant to Rule 25 of the Rules of the United States Court of Appeals 694 F.2d 1374, for the Ninth Circuit.  The previous three-judge panel assignment is hereby withdrawn.
    
    